Case 2:05-cr-20056-SH|\/| Document 109 Filed 09/01/05 Page 1 of 2 Page|D 92

UNITED STATES DISTRICT coURT F"*LED 53`=" pmi o.c.
WESTERN DISTRICT 0F TENNESSEE
Westero Division 05 SEP " i PH 5: | ‘]
ctrs-if '

  

UNITED STATES OF AMERICA

-vs- Case No. 2:05cr20056-22Ma

ASA MCKINNIE

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING1 PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a detention hearing is set for
TUESDAY, SEPTEMBER 6, 2005 at 10:15 A.M. before United States Magistrate Judge Diaoe
K. Vescovo in Courtroom No. 5, Third Floor, United States Courthouse and Federal Building,
167 North Main, Memphis, TN TN. Pending this hearing, the defendant shall be held in custody by
the United States Marshal and produced for the hearing
Date: September l, 2005

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

lIf not held immediately upon defendant's flrst appearance, the hearing may be continued for up to three days upon
motion of the govemment, or up to five days upon motion of the defendant 18 U.S.C. § 3142({)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f) are present Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the govemment; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct j ustice, or threaten, inj ure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or j uro .

AO 470 (BIBE) Ofder of Ternporary Deiention

Thls document entered on the docket Sheet in compliance
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Notice of Distribution

This notice confirms a copy of the document docketed as number 109 in
case 2:05-CR-20056 Was distributed by faX, mail, or direct printing on
Septernber 15, 2005 to the parties listed.

 

Thornas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Sarnuel Mays
US DISTRICT COURT

